                      Exhibit GG
               2021.09.24 ET Letter




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                                                                                                     PATTERSON

        September 24, 2021

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        RE:     Zee Company's Production of Documents and Email of September 17, 2021
                Zeco v. Enviro Tech, Case No. 21-ev-79 (E.D. Tenn.)

        Counsel:
        Thank you for your email of September 17, 2021. We also thank you for producing some executed
        contracts and the organizational chart that you generated and for your agreement to supplement
        interrogatory responses by October 6, 2021.
        We have considered your proposal thoroughly and do not believe that it is workable because, as
        we have come to learn through our correspondence, meet and confers, and review of Zee's
        production, Zee never executed a discovery plan reasonably calculated to gather the information
        requested by Enviro Tech. The purpose of meet and confers are to resolve disputes; they are not
        negotiations requiring a party to give in to demands to forego discovery to which that party is
        entitled. Zee has continually delayed providing discovery responses while at the same time
        attempting to negotiate concessions-concessions which would merely nullify Zee's
        responsibility for its unjustified failures in complying with its discovery obligations. We would
        like to point you to a case from the Southern District of Ohio, a sister court within the Sixth Circuit,
        that eloquently sets forth our position as to a party's obligations under the Federal Rules regarding
        discovery-Brown v. Tellermate HoldingsLtd, No. 2:11-cv-1122, 2014 WL 2987051 (S.D. Ohio
        July 1, 2014). We have reproduced relevant portions in the block quotes below:

                All litigants, and all experienced counsel, understand that the Federal Rules of Civil
                Procedure authorize broad discovery. See, e.g., United States v. Leggett & Plat,



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              Inc., 542 F.2d 655, 657 (6th Cir. 1976). Any matter that is relevant to a party's
              claims or defenses-relevant in the sense that it reasonably may lead to the
              discovery of admissible evidence, and is not privileged-is subject to discovery.
              The concept of relevance during discover IS necessarily broader than at trial,
              Mellon v. Cooper-Jarret, Ine., 424 F.2d 499, 500-501 (6th Cir. 1970), and "[a)
              court is not permitted to preclude the discovery of arguably relevant information
              solely because, ifthe information were introduced at trial, it would be 'speculative'
              at best." Coleman v. American Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994).

     ld. at *15.

              Counsel still have a duty (perhaps even a heightened duty) to cooperate in the
             discovery process; to be transparent about what information exists, how it is
             maintained, and whether and how it can be retrieved; and, above all, to exercise
             sufficient diligence (even when venturing into unfamiliar territory like ESI) to
             ensure that all representations made to opposing parties and to the Court are truthful
             and are based upon a reasonable investigation of the facts. As another Judge of this
             Court has observed, "trial counsel must exercise some degree of oversight to ensure
             thattheir client's employees are acting competently, diligently and ethically in order
             tofulfill their responsibility to the Court," Bratka v. Anheuser-Busch Co., 164
              F.R.D. 448, 461 (S.D.Ohio 1995) (Graham, J.).

     Id. at *2.

             The Court expects that any trial attorney appearing as counsel of record in this
             Court who receives a request for production of documents in a case such as this will
             formulate a plan of action which will ensure full and fair compliance with the
             request. Such a plan would include communicating with the client to identify the
             persons having responsibility for the matters which are the subject of the discovery
             request and all employees likely to have been the authors, recipients or custodians
             of documents falling within the request. The plan should ensure that all such
             individuals are contacted and interviewed regarding their knowledge of the
             existence of any documents covered by the discovery request, and should include
             steps to ensure that all documents within their knowledge are retrieved. All
             documents received from the client should be reviewed by counsel to see whether
             they indicate the existence of other documents not retrieved or the existence of other
             individuals who might have documents, and there should be appropriate follow up.
             Of course, the details of an appropriate document search will vary, depending upon
             the circumstances of the particular case, but in the abstract the Court believes these
             basic procedures should be employed by any careful and conscientious lawyer in
             every case.


    Id. at *18.




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                  As Judge Graham noted, "tijf litigants are to have any faith in the discovery
                  process, they must know that parties cannot fail to produce highly rclevant
                  documents within their possession with impunity. Parties cannot be permitted to
                  jeopardize the integrity of the discovery process by engaging in halfhearted and
                   ineffective efforts to identify and produce relevant documents." ld.

      ld.   at   23

      Here, based on the parties' written correspondence and several meet and confers, Enviro Tech does
      not believe that Zee has met these basic discovery requirements. First, as Zee admits, for all email
      communications, Zee unilaterally chose to search only for communications dated after February
      9,2021, and only applied the following search terms: "Enviro Tech" and Envirotech." That search
      was not reasonably calculated to identify information responsive to Enviro Tech's requests, even
      if the requests for which Zee has refused to produce documents are not considered.

      Second, as admitted during our most recent meet and confer, you, as counsel for Zee, do not know
       what documents exist. Rather, your client's President, Jonathon Bullard, "directed the document
      collection at his company and sent them [the documents] to either the lawyers or the e-discovery
      vendor." That statement indicates that you have not complied with your obligation to formulate a
      plan of action which will ensure full and fair compliance with the request, including
      communicating with the client, contacting all relevant individuals, and reviewing received
      documents to see whether they indicate the existence of other documents not retrieved or the
      existence of other individuals who might have documents. When asked about the existence of
      documents, you repeatedly stated that you did not know whether certain types of documents
      existed and that was not a question for you but rather a question to be asked of Zee during a
      30(b)6) deposition. That does not comply with your duty to be transparent about what infomation
      exists, how it is maintained, and whether and how it can be retrieved.

      Third, despite these failures, Enviro Tech attempted to assist in formulating a reasonable discovery
      plan, but Zee refused. Our last letter provided a lengthy bullet list of specific types of responsive
      documents that Enviro Tech believes should exist based on its knowledge of the industry and
      documents produced by Zee. It is Zee's failures in the document collection that appear to be the
      root cause of the existence of the numerous deficiencies we have previously identified, including
      but not limited to the bullet list we provided. Yet, when we proposed that you present this list to
      your client to assist in performing a reasonable search, you stated, "I'm not gonna do that." That
      bullet list is reproduced here with additional sub bullets added based on your recent production of
      some, but not all, of Zee's executed contracts with customers.


                 Official statementsand drafts ofthose statementsregarding whytheZee processdoesno
                   infringe.




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                 oWe again reiterate that any such document that was sent to a customer i1s not
                   privileged, even if the document was prepared and/or signed by an attorney.
              Any communicationswith customers or potential customersregarding whythe Zee process
              does not infringe.




                                    To the cxtent any official opinion was provided, e.g., from 7ees
              attorncys, sharing such documents with a third party defeats any attorney-client privilege
          claim
        Executed agreements with customers, such as but not limited to Pilgrim's Pride and Claxton
          Poultry, regarding the services, chemicals, and equipment that were provided as part ofthe
          chemical intervention program.
              oAll communications and draft agreements created during the negotiation of the
                      Contract



                 oSuch production should include all facilities, including the omitted Pilgrim's Pride
                   Chattanooga facility and Claxton Poultry.
                 oSuch production should also include all exhibits, attachments, and any other
                      associated documents with the agreement.




                  o    Some produced agreements are not even fully executed. It is untenable that Zee
                      does not keep a record of the fully executed contracts with its customers,

              Any bid material submitted to any customer or potential customers,such as Pilgrim's Pride
              or Claxton, regarding any attempt to offer Zec's chemical program to that customer or
              potential customer.
                                he similar materials for the chemical intervention programs areclearly
              more relevant tothe present litigation.
                 o
                      Any other sales materials and related communications.

         Communications planning and coordinating the installation process for Zee's chemical
           intervention program.
               o Associated purchase orders or other order forms.
                 o     Communications with any contractors that may have assisted with the installation
                      of any accused product.




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              Any material or communications regarding training customers and their employees
              regarding the chemical intervention program.
              Documents regarding Zee's document retention policy.
              Draft versions of any responsive documents. Final and draft versions of
                                                                                      any HACCP plans
              related   to   the chemical intervention
                                                       program.
                   o
                        Any and all drafts ofthe executed agreements. As previously stated,



              Documents regarding the chemical intervention
                                                              program and the steps suggested, required,
              or performed by Zee or performed automatically by the PCC or any other hardware
              associated with the chemical intervention program.
                   o
                        Documents identifving the list of users who have access to the PCC system
                   o
                        DOCumensshowing the           levels of access to the   PCC for different users and what
                        actions/permissions were granted to those users,
                   o     Documents associated with the phone application that connects to the PCC.
                   o    Any documents setting forth or otherwise relating to suggested and/or required
                        production process parameters and other general recommendations intended to
                        assist any of Zee's customers in achieving the customer's microbiological goals
          Data logs regarding the operation of the chemicalintervention program, particularly to the
           extent they include pH data.
               o   Data logs of the pH setpoints in accused products in effect as
                   until present and the username used to set the
                                                                                  of February, 9, 2021,
                                                                  setpoints.
          Any non-compliance reports from FSIS, any other government agency, or any customer
              related to the chemical intervention program, particularly to the extent the
              report includes pH data.
                                                                                           non-compliance
                  o Any internal commu cations regarding such
                   o
                                                                    non-compliance reports.
                        Any submitted corrective actions (accepted or rejected) and any drafts of those
                         submissions.
              We have only found        a   few emails directly communicating with


                                                                   here shtoua ve extensive ema
              conversations with each customer regarding the chemical intervention program.

          Documents and communIcations regarding approvals for the chemical intervention
            program from USDA.
          Any documents or communications related to the Pilgrim's employees identified in the
            R.26(a) initial disclosures.




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            Any documentation on the development of the chemical intervention program, such as lab
            notebooks, lab studies, evaluations of the programs used by others, etc.
                o May also include communications from customers requesting specificfeatures.




            Any documentation on the development and validation of the chemical intervention
            program to operate at an elevated pH, such as lab notebooks, lab studies, evaluations of the
            programs used by others, etc.
               o May also include communications from customers requesting Zee to provide the
                     elevated pH.
                 o Any documents related validation studies conducted for a customer's HACCP plan
                     with regard to the accused products.
             Any documents, official statements, or other communications sent to customers or potential
             customers regarding Zee's non-infringement, interpretation of, or other opinion regarding
             the patent application as a whole or its claims before the patent issuance.

     The deficiencies in Zee's current responses preclude Enviro Tech from being able to identify an
     exhaustive list; these are only exemplary. Zee is in a better position than Enviro Tech to know
     what types of documents exist. It is your obligation as counsel to discuss such issues with your
     client and formulate a reasonable plan to search for and collect such documents.

     At this point, we believe the only way to resolve the outstanding issues is essentially for a "re-do."
     Zee's resolution of the root cause of these deficiencies will allow the parties to meaningfully
     address any discrete issues that might remain, such as those identified in Enviro Tech's prior
     correspondence. Zee should formulate a specific plan that is reasonably targeted to collect existing
     responsive documents, which is what should have happened in the first place. We are willing to
     consider further the date cut-off for the searches to assist in developing this plan, but without a full
     suite of customer contracts for antimicrobial intervention programs, we cannot agree to such a date
     (your latest production does not even include contracts regarding the Pilgrim's Pride facility in
     Chattanooga or contracts with Claxton Farms and, as such, is incomplete). Regardless, we are not
     willing to accept February 9, 2021, as the date cut-off, as we have extensively explained
     previously. We are also happy to suggest search terms, but we cannot agree that such suggested
     terms would be the only terms necessary for a reasonable search. As we previously explained, this
     is because Zee is in a better position to understand naming conventions and other vernacular used
     internally that refers to responsive documents. We want to make clear that we are not asking Zee
     to, as you have stated, "fashion searches based merely on Enviro Tech's arguments or complaints."
     We are asking Zee to fashion searches that "ensure full and fair compliance with [Enviro Tech's]
     requests. ld. at *18.

      We also note that Zee's documents clearl indianta that




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                             The information
                                                                                 is highly relevant      to   the
     Thiingementanalysis, including
                      This information 1s aso encompassed by the definition of *documents
     contemplated by the Federal Rules and set out in Enviro Tech's discovery requests. As indicated
     in Brown v. Tellermate Ensira Tech is entitled to such information in a usable form.


     We   are now months past the deadline set in the Federal
                                                                   Rules for Zee to fulfill its discovery
     obligations. Therefore, the only appropriate resolution that we can envision is for Zee to formulate
     a
       discovery plan that involves an additional collection reasonably calculated to collect responsive
     documents. Once Zee confims that it has
                                                produced all executed contracts that have governed the
     provision of any antimicrobial intervention program provided to customers from February 9, 2021,
     to present, we will be happy to discuss an appropriate date cut-off for the e-mail searches.
     Furthermore, if Zee would like to propose search terms, we will review and provide additional
     suggestions to help   resolve the current   dispute.   Due to the   significant delays   in Zee's
                                                                                       discovery
     responses-all of which were of Zee's own making-we ask that Zee agree to complete its search.
     collection, review, and production by October 31, 2021.
     We will not   permit Zee, who filed this lawsuit in the first place, to continue to utilize the meet and
     confer process as  a filibuster. If this
                                              proposal is not acceptable to Zee, please let us know, and we
     will file our motion with the Court. We are
                                                    happy to discuss the proposal during a meet and confer
     should further clarification be needed, but we believe we are at an
                                                                             impasse that cannot be resolved
     through the piecemeal concessions proposed in your September 17, 2021, email, which did not
     fully address the concerns we have repeatedly raised with you.
     Very truly yours,
     PATTERSON INTELLECTUAL PROPERTY LAW, P.C.



     Seth R. Ogden
     sro@iplawgroup.com




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